Case 1:24-cv-08810-LAK Document 16-1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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USDC SDNY
DOCUMENT

JOHN DOE,
Plaintif€,

- against -

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a COMBS GLOBAL

t/ik/a COMBS ENTERPRISES LLC,

BAD BOY ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,

BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, AND INDIVIDUAL
DOES 1-10

Defendants.

ELECTRONICALLY FILED
DOC #:

DATE FILED: | / 29/9

Case No, 24-cv-8810 (LAK)

STIPULATION REGARDING
SERVICE AND DEADLINES
TO RESPOND TO
COMPLAINT AND PENDING
MOTION TO PROCEED
ANONYMOUSLY

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

counsel for Plaintiff John Doe in this action and defendants Sean Combs, Daddy’s House

Recordings Inc., CEOpCo, LLC d/b/a Combs Global f/k/a Combs Enterprises, LLC, Bad Boy

Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings,

Inc., Bad Boy Entertainment LLC, Bad Boy Productions LLC, Bad Boy Records, LLC

(“Defendants”), in the above-captioned action that:

1) Defendants hereby accept service of 1) the Complaint (ECF #1) and 2) the Plaintiffs

Motion for Leave to Appear Anonymously (ECF #6, the “Anonymity Motion”)

2) The parties to this Stipulation agree that the Defendants shall have until February 25,

2025 to answer, move, or otherwise respond to the Complaint;

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3) The parties to this endants shal

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ave until February 25, lL~

Dated: New York, New York
January 22, 2025

ts/ Mark Cuccaro

Mark Cuccaro /s/ Antigone Curis
SHER TREMONTE LLP Antigone Curis, Esq.

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Recordings Inc., CEOpCo, LLC d/b/a Combs Counsel for Plaintiff John Doe
Global fik/a Combs Enterprises, LLC, Bad Boy

Entertainment Holdings, Inc., Bad Boy

Productions Holdings, inc., Bad Boy Books

Holdings, Inc., Bad Boy Entertainment LLC,

Bad Boy Productions LLC

és! Donald S. Zakarin

Donald S. Zakarin

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Counsel for Defendant Bad Boy
Records, LLC

( Vy vs
SO ORDERED: Wy

Hon/Vewis A. Kaplan

